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                        UNITED STATES DISTRICT COURT
                         DISTRICT OF MASSACHUSETTS


                                           |
UNITED STATES OF AMERICA                   |
                                           |
      v.                                   |
                                           |      No. 1:15-cr-10390-PBS
JAYME GORDON,                              |
                    Defendant.             |
                                           |
                                           |
                                           |


                            AMENDED EXHIBIT LIST

      The Defendant, by and through his attorney, Jeffrey A. Denner, attaches his

Amended Exhibit List.


Dated: November 17, 2016                   Respectfully submitted,
                                           JAYME GORDON
                                           By and through his attorney,

                                             /s/ Jeffrey A. Denner
                                           Jeffrey A. Denner, BBO#120520
                                           Jeffrey Denner Associates, PC
                                           Four Longfellow Place, 35th Floor
                                           Boston, Massachusetts 02114
                                           Tel. 617.227.2800
                                           Fax. 617.973.1562
                                           jad@dennerlaw.com
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UNITED STATES OF AMERICA v. JAYME GORDON


CASE NO.: 15-CR-10390-PBS (as of 11-02-2016)

                           Defendant’s Exhibit List
Exhibit       Agreed        Admitted       Description of Exhibit
Number        [Yes/No]      [Yes/No]
151                                        List of Character Names
              Yes           Yes            page: 66
                                           1992 Copyright
                                           (TXU530766)
152                                        List of Character Names
              Yes           Yes            page: 7
                                           1993 Copyright
                                           (TXU560434)
153                                        “Super Sumo Kamikaze Komodo Dragon
              Yes           Yes            Wrestlers™ The Television Series”
                                           Page: 126
                                           2000 Copyright
                                           (TXU867275)
154                                        Image of DreamWork’s character “Po” and
              Yes           Yes            “Master Shifu” from TV animated Series
                                           “Legends of Awesomeness”(2011)
155           Yes           Yes            Image of Kung Fu Panda “Po’s Power Paws
                                           with ‘Panda Power’ Sound Effects”
156                                        Image of Cover for Kung Fu Panda 3 “The
              Yes           Yes            Power of Po” Story Book Adapted by: Maggie
                                           Testa (2015)
157           Yes           Yes            Image of “Mantis” from Kung Fu Panda film
                                           (2008)
158                                        The Jayme Gordon Company Trademarked
              Yes           Yes            Logo
                                           From JaymeGordon.com
                                           page: JG001693
                                           2000 Copyright
                                           (TXU867275)
159           Yes           Yes            Image of “Mantis” from Kung Fu Panda film
                                           (2008) emphasizing design on Character’s
                                           back
160                                        “Anna Conda”
              Yes           Yes            page: 22
                                           1993 Copyright
                                           (TXU459629)
161           Yes           Yes            Image of “Viper” from Kung Fu Panda film
                                           (2008)
162                                        “Fortune Cookie”
              Yes           Yes            page: 41
                                           1992 Copyright
                                           (TXU530766)
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163          Yes         Yes          Image of “Mr. Ping”
                                      from Kung Fu Panda film (2008)
164                                   “Super Sumo Kamikaze Komodo Dragon
                                      Wrestlers”
             Yes         Yes          page: 24
                                      1992 Copyright
                                      (TXU530766

165          Yes         Yes          Image of “Po” from Kung Fu Panda film
                                      (2008)
166                                   Drawing
             Yes         Yes          page: 146
                                      1991 Copyright
                                      (TXU475355)
167                                   “Super Sumo Kamikaze Komodo Dragon
             Yes         Yes          Wrestlers” (Nesia)
                                       page: 36
                                      1991 Copyright
                                      (TXU459629)
168          Yes         Yes          Image of “Storming Ox” from Kung Fu Panda
                                      2 film (2011)
169                                   Story of “Karate Marty Mantis™ “
             Yes         Yes          page: 9
                                      1993 Copyright
                                      (TXU560434)
170                                   Story of Karate Marty Mantis™ with Name
             Yes         Yes          Substitutions
                                      page: 9
                                      1993 Copyright
                                      (TXU560434)
171                                   Drawing of “Karate Marty Mantis™”
             Yes         Yes          page: 41
                                      1993 Copyright
                                      (TXU560434)
172                                   Drawing of “Karate Marty Mantis ™”
             Yes         Yes          page: 62
                                      1991 Copyright
                                      (TXU475355)
173          Yes         Yes          Image of “Mantis” from Kung Fu Panda Film
                                      (2008)
174                                   “BIG GUNS™ Body Building Gear” drawing
             Yes         Yes          page: 11
                                      1992 Copyright
                                      (TXU5307666)
175          Yes         Yes          Image of “Chip Hazard” from “Small
                                      Soldiers” film by DreamWorks (1998)
176                                   Story of “The Mighty Three”
             Yes         Yes          page(s): 38-40
                                      1993 Copyright
                                      (TXU560434)
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177                                   Drawing of “The Mighty Three”
             Yes         Yes          page: 38
                                      1993 Copyright
                                      (TXU560434)
178          Yes         Yes          RESERVED
179          Yes         Yes          Image of “The Lion King’s Tomin & Pumbaa
                                      ‘Beary Good Fortunes” (Rhino Babies Scene)
180                                   “Super Sumo Kamikaze Komodo Dragon
             Yes         Yes          Wrestlers”
                                      page: 36
                                      1991 Copyright
                                      (TXU459629)
181                                   Drawing of “Frog King”
             Yes         Yes          page: 5
                                      1990 Copyright
                                      (TXU434415)
182          Yes         Yes          Image of DreamWorks’ Character: “The
                                      Toad” from the film “Flushed Away” (2006)
183                                   Drawing of “Rancid Rat & Big Mouth”
             Yes         Yes          page: 85
                                      1992 Copyright
                                      (TXU530766)
184          Yes         Yes          Image of Image of DreamWorks’ Character:
                                      “Spike & Whitey” from the film “Flushed
                                      Away” (2006)
185                                   Drawing of “Rodney”
             Yes         Yes          page: 49
                                      1992 Copyright
                                      (TXU530766)
186          Yes         Yes          Image of DreamWorks’ Character: “Roddy”
                                      from the film “Flushed Away” (2006)
187                                   Drawing
             Yes         Yes          page:4
                                      1993 Copyright
                                      (TXU560434)
188          Yes         Yes          Image of Disney’s Character: “Mr. Incredible”
                                      from the film “The Incredibles” (2004)
189                                   Drawing
             Yes         Yes          page: 560434
                                      1993 Copyright
                                      (TWU560434)
190          Yes         Yes          Image of DreamWork’s Character: “Metro
                                      Man” from the film “Mega Mind”
191          Yes         Yes          FSEvents Logs Relating to Gordon v.
                                      DreamWorks page 1,2,3
192                                   Drawing of “Taboo”
             Yes         Yes          page: 103
                                      1991
                                      (TXU475355)
193          Yes         Yes          Image comparing “Taboo”(1991) to Timon
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                                      from the “Lion King” (1994)
194          Yes         Yes          Cease and Desist Letter from Lucy D.
                                      Loverien, Esq. to Jay S. Handlin, Esq. of
                                      Capital Cities/ABC, Inc./The Walt Disney
                                      Company dated December 31, 2001 Re:
                                      Jayme Gordon Intellectual Property, including
                                      “ LUCKY LIZARD” character and trademark
                                      page(s):41-44
195          Yes         Yes          Letter to Jayme Gordon from Disney, Dated
                                      June 21, 1988
196          Yes         Yes          Letter to Roy Disney from Jayme Gordon,
                                      Dated August 1, 1990
197          Yes         Yes          Letter to Michael Eisner from Jayme Gordon,
                                      Dated May 22, 1992
198                                   DreamWorks Internal Mail Receipt & Return
             Yes         Yes          invoice to Jeffrey Katzenberg, submitted
                                      10/14/1999
199          Yes         Yes          DreamWorks Envelope Addressed to Jayme
                                      Gordon, Stamped and Dated October 28, 1999
200          Yes         Yes          DreamWorks Rejection letter addressed to
                                      Jayme Gordon, Dated October 15, 1999
201                                   Character Drawings of :
             Yes         Yes              1. “Shaggy”
                                               Page: 20
                                               1990 Copyright
                                               (TXU434415)
                                          2. “Terror the Terrible Termite”
                                               Page: 18
                                               1990 Copyright
                                               (TXU434415)
                                          3. “Sandy Sawmill”
                                               Page: 57
                                               1991 Copyright
                                               (TXU475355)
                                          4. “Bette”
                                               Page: 27
                                               1990 Copyright
                                               (TXU434415)
                                          5. “Buttercup”
                                               Page: 16
                                               1990 Copyright
                                               (TXU434415)
                                          6. “Wally”
                                               Page: 2
                                               1990 Copyright
                                               (TXU434415)
                                          7. “Gypsy”
                                               Page: 24
                                               1990 Copyright
                                               (TXU434415)
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                                         8. “Mantis”
                                            Page: 60
                                            1991 Copyright
                                            (TXU475355)


202                                   Images of Disney/Pixar characters from the
                                      film “Bugs Life”(1998):
             Yes         Yes              1. “Rosie”
                                          2. “Tuck”
                                          3. “Roll”
                                          4. “Francis”
                                          5. “Heimlich”
                                          6. “Slim”
                                          7. “Gypsy”
                                          8. “Manny”
209                                   Master Yaki image
             Yes         Yes          Page 34
                                      Copyright 1990
214          Yes         Yes          Image of Lucky Lizard
                                      Page 16 of 1993 Copyright
216          Yes         Yes          Book of Pu Registration Excerpts
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                                     Certificate of Service

        I, Jeffrey A. Denner, hereby certify that on this the 17th day of November 2016, I caused
a true copy of the foregoing Amended Exhibit List to be served upon all necessary parties to this
matter by virtue of electronically filing the same via the CM/ECF system.

                                                 /s/ Jeffrey A. Denner
                                                Jeffrey A. Denner
